                   Case 6:20-cv-00585-ADA Document 272-27
                                       506065072          Filed 10/04/23 Page 1 of 17
                                                     05/18/2020
                                   PATENT ASSIGNMENT COVER SHEET

     Electronic Version v1 .1                                                 EPASID:PAT6111787
     Stylesheet Version v1 .2

      SUBMISSION TYPE:                       NEW ASSIGNMENT
      NATURE OF CONVEYANCE:                  ASSIGNMENT

       CONVEYING PARTY DATA
                                             Name                         Execution Date
       NOKIA TECHNOLOGIES OY                                             08/22/2017


       RECEIVING PARTY DATA
       Name:                    WSOU INVESTMENTS LLC
       Street Address:          11150 SANTA MONICA BLVD.
       Internal Address:        SUITE 1400
       City:                    LOS ANGELES
       State/Country:           CALIFORNIA
       Postal Code:             90025


       PROPERTY NUMBERS Total: 114
               Property Type                        Number
       Patent Number:                   8223126
       Patent Number:                   8331493
       Patent Number:                   7889266
       Patent Number:                   9467530
       Patent Number:                   7684346
       Patent Number:                   8102882
       Patent Number:                   8019383
       Patent Number:                   8385517
       Patent Number:                   7996222
       Patent Number:                   7417620
       Patent Number:                   7403951
       Patent Number:                   8320924
       Patent Number:                   7359361
       Patent Number:                   7254399
       Patent Number:                   7511467
       Patent Number:                   8731914
       Patent Number:                   7821997
       Patent Number:                   7493030
       Patent Number:                   7398114

                                                                       PATENT
             506065072                                         REEL: 052694 FRAME: 0303
                                                                              WSOU-GOOALL-0000390


D 035.0001
                 Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 2 of 17

             Property Type                  Number
       Patent Number:           7072637
       Patent Number:           6760015
       Patent Number:           6728241
       Patent Number:           7448080
       Patent Number:           6788690
       Patent Number:           7788098
       Patent Number:           6535155
       Patent Number:           7684753
       Patent Number:           6910191
       Patent Number:           8375411
       Patent Number:           6707855
       Patent Number:           7269449
       Patent Number:           6630925
       Patent Number:           6985137
       Patent Number:           6927384
       Patent Number:           6542436
       Patent Number:           6907568
       Patent Number:           7424299
       Patent Number:           6675219
       Patent Number:           6928410
       Patent Number:           7725600
       Patent Number:           6798773
       Patent Number:           6737933
       Patent Number:           6771619
       Patent Number:           7376625
       Patent Number:           8966377
       Patent Number:           7941754
       Patent Number:           8065429
       Patent Number:           7751135
       Patent Number:           8761709
       Patent Number:           8195452
       Patent Number:           8290516
       Patent Number:           8401565
       Patent Number:           8291052
       Patent Number:           8761082
       Patent Number:           8495749
       Patent Number:           8856226
       Patent Number:           8199939


                                                             REEL: 052694 FRAME: 0304
                                                                            WSOU-GOOALL-0000391


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                 Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 3 of 17

             Property Type                  Number
       Patent Number:           8892101
       Patent Number:           8789204
       Patent Number:           8335819
       Patent Number:           8817626
       Patent Number:           8724648
       Patent Number:           8248997
       Patent Number:           8737961
       Patent Number:           8266551
       Patent Number:           8489600
       Patent Number:           8942638
       Patent Number:           9144098
       Patent Number:           8983763
       Patent Number:           8351555
       Patent Number:           9218605
       Patent Number:           9245051
       Patent Number:           8803697
       Patent Number:           9055404
       Patent Number:           9294883
       Patent Number:           8914656
       Patent Number:           8811207
       Patent Number:           9307550
       Patent Number:           9258354
       Patent Number:           9398437
       Patent Number:           8248941
       Patent Number:           8724525
       Patent Number:           8717966
       Patent Number:           7126998
       Patent Number:           7173961
       Patent Number:           7006811
       Patent Number:           7973823
       Patent Number:           7991176
       Patent Number:           7983309
       Patent Number:           7870377
       Patent Number:           8060913
       Patent Number:           7937417
       Patent Number:           7894823
       Patent Number:           8045047
       Patent Number:           8027288


                                                             REEL: 052694 FRAME: 0305
                                                                            WSOU-GOOALL-0000392


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                   Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 4 of 17

               Property Type                          Number
       Patent Number:                  7254484
       Patent Number:                  7200418
       Patent Number:                  7197318
       Patent Number:                  8065408
       Patent Number:                  7146168
       Patent Number:                  7260074
       Patent Number:                  7280482
       Patent Number:                  7873011
       Patent Number:                  8032330
       Patent Number:                  9170649
       Patent Number:                  8010669
       Patent Number:                  9189256
       Patent Number:                  9047267
       Patent Number:                  8966090
       Patent Number:                  9117203
       Patent Number:                  9111255
       Patent Number:                  9055512
       Patent Number:                  9025775
       Patent Number:                  8923377


       CORRESPONDENCE DATA
       Fax Number:
       Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent
       using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.
       Phone:                         208-327-8900
       Email:                         docketing@burdickpatents.com
       Correspondent Name:            SEAN D. BURDICK
       Address Line 1:                2537 W. STATE STREET
       Address Line 2:                SUITE 220
       Address Line 4:                BOISE, IDAHO 83702

      NAME OF SUBMITTER:                     SEAN D. BURDICK
      SIGNATURE:                             /Sean D. Burdick/
      DATE SIGNED:                           05/18/2020
      Total Attachments: 12
      source=20170822 Nokia Technologies Oy to WSOU#page1 .tif
      source=20170822 Nokia Technologies Oy to WSOU#page2.tif
      source=20170822 Nokia Technologies Oy to WSOU#page3.tif
      source=20170822 Nokia Technologies Oy to WSOU#page4.tif
      source=20170822 Nokia Technologies Oy to WSOU#page5.tif
      source=20170822 Nokia Technologies Oy to WSOU#page6.tif


                                                                                    PATENT
                                                                            REEL: 052694 FRAME: 0306
                                                                                                WSOU-GOOALL-0000393


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                  Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 5 of 17
      source=20170822 Nokia Technologies Oy to WSOU#page7.tif
      source=20170822 Nokia Technologies Oy to WSOU#page8.tif
      source=20170822 Nokia Technologies Oy to WSOU#page9.tif
      source=20170822 Nokia Technologies Oy to WSOU#page10.tif
      source=20170822 Nokia Technologies Oy to WSOU#page11.tif
      source=20170822 Nokia Technologies Oy to WSOU#page12.tif




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                                                                 REEL: 052694 FRAME: 0307
                                                                              WSOU-GOOALL-0000394


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                     Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 6 of 17
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                                                                  SCHEDULE 13;


                                                 CONFIRMATION OF ASSIGNMENT

                DATE:       August22,2017

                Nokia Technologies Oy, a company validly organized and existing under the laws of Finland and having
                its principal address at Karakaari 7, 02610 Espoo, Finland, ("Assignor")

                WSOU Investments LLC, a company validly organized under the laws of Delaware, having its principal
                address at 11150 Santa Monica Boulevard, Suite 1400 Los Angeles, CA 90025 ("Assignee").

                I, the undersigned, representing above-named Assignor, hereby confirm as follows:

                The Assignor was the owner of all rights in and to the patents identified in Exhibit A hereto (the "Assigned
                Patents").

                On or about August 22, 2017, the Assignor assigned all rights in and to the Assigned Patents to the Assignee
                (the "Patent Assignment").

                The Patent Assignment included, subject to all existing encumbrances (including without limitation, right
                and licenses of other parties), where, such existing encumbrances shall run with the Assigned Patents, the
                assignment to Assignee and its successors and onward assigns all right, title, and interest in and to the
                Assigned Patents, including without limitation all causes of action and other enforcement rights for
                damages, injunctive relief and any other remedies of any kind for past, current, and future infringement,
                subject to the terms, conditions and all existing encumbrances and which shall run with the Assigned
                Patents, to the extent such damages or relief hereinabove are not already paid, awarded or contractually
                owed to Assignor, its affiliates or any predecessor of Assignor or Assignor's affiliates.

                This Confirmation of Assignment may be executed by the Parties in one or more counterparts, each of
                which when so executed shall be an original, but all such counterparts shall constitute one and the same
                instrument. Each Party intends that a facsimile of its signature printed from an unaltered scanned version
                of its original signature such as by a printer printing an unaltered Portable Document Format (PDF) file
                supplied by the Party be regarded as an original signature.

                                                       [signature page to follow]
                                             [remainder of this page left intentionally blank]




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                                                                                             PATENT
                                                                                     REEL: 052694 FRAME: 0308
                                                                                                      WSOU-GOOALL-0000395


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               Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 7 of 17

                                                                                        EXECUTION COPY



             IN WITNESS WHEREOF, the Assignor has caused this Assignment to be signed by its duly authorized
             officers.



                  ASSIGNOR:                                      ASSIGNOR:

                                                                 NOKIA TECHNOLOGIES OY

                                                                 By:      -,.,,:}:ft(/? •. ::·····[.,z_-J,/?... ,,.•·? .
                                                                                    .l                   /
                                                                                 lr~:                l
                               Jukka I\Hhtila
                  Name:        Authorized SiRnator,              Name:            Meria Lev.iijarni
                                                                                 Authorized Signatory
                                                                 Title:

                  Date:                                          Date:




                  ACKNOWLEDGED BY ASSIGNEE

                  ASSIGNEE:

                  WSOU INVESTMENTS LLC


                  By:

                  Name: _ _ _ _ _ _ _ __

                  Title:
                  Date:




                                                      Page - 2


                                                                                    PATENT
                                                                            REEL: 052694 FRAME: 0309
                                                                                                             WSOU-GOOALL-0000396


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                     Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 8 of 17
    DocuSign Envelope ID: 9C4283F4-7C47-4E0C-AA56-6B891 C49E592                           EXECUTION COPY



                IN WITNESS WHEREOF, the Assignor has caused this Assignment to he signed hy its duly authorized
                officers.



                       ASSIGNOR:                                             ASSIGNOR:

                       NOKIA TECHNOLOGIES OY                                 NOKIA TECHNOLOGIES OY

                       By:                                                   By:


                       Name: _ _ _ _ _ _ _ _ _ __                            Name: _ _ _ _ _ _ _ _ _ _ __

                       Title:                                                Title:

                       Date:                                                 Date:




                       ACKNOWLEDGED BY ASSIGNEE

                       ASSIGNEE:

                       WSOU INVESTMENTS LLC


                       By:
                                    Stuart shanus
                       Name: _ _ _ _ _ _ _ _ __
                                    President
                       Title:
                                     9/30/2019
                       Date:




                                                                  Page - 2
                                                                                              PATENT
                                                                                      REEL: 052694 FRAME: 0310
                                                                                                   WSOU-GOOALL-0000397


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                     EXHIBIT A OF SCHEDULE J3-ASSTGNED PATENTS TN CONFIRMATION OF ASSIGNMENT




             55083   55083-US-NP 8223126   11/787474   20080259038 07/17/12 04/17/07 KEYGUARD.

                                                                                     Bias Removal of Radio Link Quality
             73214   73214-US-NP 8331493   12/875472   20120058758 12/11/12 09/03/10
                                                                                     Estimates
                                                                                     Smart Image Capture with Auto Focus
             52723   52723-US-NP 7889266   11/598219   20080111910 02/15/11 11/10/06 Cameras

                                                                                       SYSTEM AND METHODS FOR
             52187   52187-US-NP 9467530   11/279281   20070239867 10/11/16 04/11/06   SEAMLESS CONTENT SHARING


                                                                                     BATTERY SAYING METHOD FOR
             54503   54503-US-NP 7684346   11/647614   20080159163 03/23/10 12/29/06 ALWAYS-ON CONNECTIONS


                                                                                     SYSTEM WITH ADAPTIVE
                                                                                     POWER CONTROL WITH FIXED
             46971   46971-US-NP 8102882   11/415725   20070258352 01/24/12 05/02/06 TRUNCATING RATIO IN
                                                                                     MULTI CARRIER
                                                                                     COMMUNICATION

                                                                                     APPARATUS AND METHOD TO
                                                                                     EXTEND DMR COVERAGE WITH
             56505   56505-US-NP 8019383   11/624204   20080171567 09/13/11 01/17/07 POC

                                                                                       REPLY VIA ANOTHER CHANNEL
             53191   53191-US-NP 8385517   11/468189   20080056454 02/26/13 08/29/06
                                                                                       NOVEL METHOD FOR PROSODY
             56153   56153-US-NP 7996222   11/536701   20080082333 08/09/11 09/29/06   CONVERSION

                                                                                     USING INVENTION NC19490 FOR
                                                                                     HAPTICS PURPOSES E.G. AS A
             43226   43226-US-NP 7417620   10/832110   20050237314 08/26/08 04/26/04 ROLLERBRAKE


                                                                                     SVG DOCUMENT SIMILARITY
                                                                                     BY REDUCING THE DOCUMENTS
                                                                                     TO
                                                                                     THEIR MINIMAL LOGICAL
             50901   50901-US-NP 7403951   11/245859   20070083808 07/22/08 10/07/05 REPRESENTATIONS AND THEN
                                                                                       ANALYZING USING TREE
                                                                                       ISOMORPHISM
                                                                                       TECHNIQUES




                                                                                          PATENT
                                                                                  REEL: 052694 FRAME: 0311
                                                                                                      WSOU-GOOALL-0000398


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                     Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 10 of 17


                                                                                      A I 'I II ~ ~_'.' A 1'-< ... , H H JI 11 '"' -i
                                                                                      METHOD FOR INTERFERENCE
                                                                                      CONTROL WITHOUT INTER-
             46783   46783-US-NP 8320924    11/440531   20070275729 11/27/12 05/25/06
                                                                                      CELL
                                                                                      SIGNALLING

                                                                                      MUDIFICATIUN:S FUR THE
                                                                                      STREAM HANDLING OF THE
             45424   45424-US-NP 7359361    10/978417   20060176860 04/15/08 11/02/04 MBOA MAC IMPLICIT DRP
                                                                                      PROTOCOL

                                                                                      MODIFICATIONS FOR MBOA
             45416   45416-US-NP 7254399    10/961092   20060077939 08/07/07 10/12/04 MAC DRP PROTOCOL

                                                                                      LIGHTNING DETECTION WITH
                                                                                      (MODIFIED) STEREO FM
             49038   49038-US-NP 7511467    11/250338   20070085525 03/31/09 10/14/05
                                                                                      RECEIVER

                                                                                      NUVEL METHUD FUR WINDINU
                                                                                      AUDIO CONTENT USING VOICE
             50443   50443-US-NP 8731914    11/274612   20070112562 05/20/14 11/15/05 ACTIVITYDETECTION
                                                                                      ALGORITHM

                                                                                      HANDOVERARANGEMENTFOR
             45400   45400-US-NP 7821997    11/080160   20060209762 10/26/10 03/15/05 DVB-H RECEIVER

                                                                                      ADAPTIVE OPTICAL PLANE
                                                                                      FORMATION WITH ROLLING
             48724   48724-US-NP 7493030    11/165992   20060291844 02/17/09 06/24/05
                                                                                      SHUTTER

                                                                                      MOBILE STATION BODY
                                                                                      COMPRISED OF STACKED
             34813   34813-US-NP 7398114    10/993078   20060111052 07/08/08 11/19/04
                                                                                      ELEMENTS

                                                                                              I ' "'11 T!'lLtP.   .I    ''
                                                                                      FREQUENCY TO MINIMIZE
                                                                                      POWER CONSUMPTION
             35740   35740-US-NP 7072637    10/199271   20040014440 07/04/06 07/18/02 BYOPTIMIZING LOCATION
                                                                                      ON A ROTATING STORAGE
                                                                                      MEDIUM

                                                                                      DEVICE WITH A TWO-SIDED
             35089   35089-US-CIP 6760015   10/053531   20020080122 07/06/04 01/18/02 KEYBOARD INSERT

                                                                                      BOOLEAN PROTOCOL
             28570   28570-US-NP 6728241    10/083795   20030161305 04/27/04 02/27/02 FILTERING

                                                                                              3 WAY SCROLL KEY (THIN)
             25210   25210-GB-NP 2364173    0016241.2   2364173        04/14/04 06/30/00
                                                                                              METHOD FOR IMPLEMENTING
                                                                                              SECURE CORPORATE
             28881   28881-US-NP 7448080    10/609011   20040268148 11/04/08 06/30/03
                                                                                              COMMUNICATION

                                                                                              TWIN-BOX INPUT METHOD
             31691   31691-CN-NP 20051000 20051000511 1811669          04/18/12 01/28/05




                                                                                                PATENT
                                                                                        REEL: 052694 FRAME: 0312
                                                                                                                       WSOU-GOOALL-0000399


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                                                                                       PID SEARCH FILTERING
             28578   28578-US-NP 6788690   10/186026   20040001488 09/07/04 06/27/02
                                                                                       STROKE FRONT-AND-END
             31653   31653-CN-NP 20051005' 20051005891 1838041     05/02/12 03/24/05   INPUT METHOD

                                                                                       TONE ESTTMA TTON FOR NAME
             31630   31630-US-NP 7788098   10/909462   20060025999 08/31/10 08/02/04
                                                                                       A METHOD AND CIRCUITRY
                                                                                       FOR BREAKING THE TONES OF
             32845   32845-US-NP 6535155   09/892971   20030001764 03/18/03 06/27/01
                                                                                       THE CYCLICDEM ALGORITHMS

                                                                                            HI   II I !'UK ,H   H    NIT

                                                                                     TRANSMISSION PARAMETERS
                                                                                     BASED ON AN UPPER BOUND TO
             37402   37402-US-NP 7684753   10/895816   20060019602 03/23/10 07/21/04 THE
                                                                                     TOT AL CHANNEL ENERGY

                                                                                       TV GUIDE USING NAVIBARS
             34155   34155-US-NP 6910191   09/985307   20030090524 06/21/05 11/02/01   CROSS

                                                                                       EPG WITH REMINDER
             34124   34124-US-NP 8375411   09/891380   20030005448 02/12/13 06/27/01   FUNCTION

                                                                                     A DIGITAL DELTA-SIGMA
                                                                                     MODULATOR lN THE
             33168   33168-US-NP 6707855   10/177648   20030235261 03/16/04 06/20/02
                                                                                     FRACTIONAL N SYNTHESIZER

                                                                                       rH~s1_1NA1     ""    ""'Ul'
                                                                                     KEYBOARD BY MEANS OF
                                                                                     APPLICATION SPECIFICKEYMAT
             32885   32885-US-NP 7269449   09/998849   20030078014 09/11/07 10/24/01
                                                                                     ON TOP OF
                                                                                     EXISTING KEYBOARD CIRCUITY

                                                                                     DOUBLE-SIDED KEYBOARD
                                                                                     UTILIZING A SINGLE DOME
             32363   32363-US-NP 6630925   09/702539               10/07/03 10/31/00
                                                                                     SHEET

                                                                                       TOUCH SCREEN LOCK TO
             33201   33201-US-NP 6985137   09/928929   20030034185 01/10/06 08/13/01   DISABLE ACCIDENTAL INPUT

                                                                                       HAI II I~ 1111_11 'H PAD lN A

                                                                                       WIRELESS
             ###### 33200-US-NP 6927384    09/928967   20030034439 08/09/05 08/13/01   TELECOMMUNICATION
                                                                                       TERMINALL

                                                                                     ACOUSTICAL PROXIMITY
             32303   32303-US-NP 6542436   09/608090               04/01/03 06/30/00 DETECTION


                                                                                       A CARD TO RESTORE NETWORK
             18656   18656-US-NP 6907568   09/828763               06/14/05 04/09/01
                                                                                       OBJECTS OF ARBITRARY SIZE




                                                                                         PATENT
                                                                                 REEL: 052694 FRAME: 0313
                                                                                                            WSOU-GOOALL-0000400


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                     Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 12 of 17


                                                                                            n, 11   lU _!:<H JI JI t<. fHh l'<ttlJ
                                                                                       OF MEASUREMENTS IN A
                                                                                       DYNAMIC CHANNEL
             23366   23366-US-NP 7424299    09/658731                09/09/08 09/11/00
                                                                                       ALLOCATION
                                                                                       SYSTEM.


                                                                                         SERIAL BUS CONTROLLED
             24985   24985-FI-NP   108582   20001017                 02/15/02 05/02/00
                                                                                         SMART KEYPAD ILLUMINATION

                                                                                       TECHNIQUE FOR IMPROVING
                                                                                       THROUGHPUT OF A GATEWAY
             27344   27344-US-NP 6675219    09/431071                01/06/04 11/01/99
                                                                                       INTERFACE

                                                                                         SMART PINYIN INPUT
             25460   25460-CN-NP ZL991203 99120322.4     1288343     02/18/04 09/15/99
                                                                                       MUSICAL MODIFICATION OF
             18817   18817-US-NP 6928410    09/707088                08/09/05 11/06/00 JAPANESE SPEECH OUTPUT

                                                                                       ADDRESS MANAGEMENT IN A
                                                                                       FLAT STRUCTURE MOBILE
             17686   17686-US-NP 7725600    10/770881    20050172014 05/25/10 02/03/04
                                                                                       NETWORK

                                                                                       PHYSICALLY SCOPED
                                                                                       MULTICAST IN MULTI-ACCESS
             17413   17413-US-NP 6798773    09/987198    20030091021 09/28/04 11/13/01
                                                                                       WIRELESS NETWORKS


                                                                                       A CIRCUIT TOPOLOGY FOR LOW
                                                                                       LOSS ATTENUATOR AND
                                                                                       SWITCH CIRCUITS OPERATING
             15921   15921-US-NP 6737933    10/047017    20030132814 05/18/04 01/15/02 AT
                                                                                       MICROWAVE AND MILLIMETER
                                                                                       WAVE FREQUENCIES

                                                                                         AUTOMATIC DETECTION AND
                                                                                         MODIFICATION OF CHANNEL
             15941   15941-US-NP 6771619    09/782032    20020110110 08/03/04 02/14/01
                                                                                         USAGE

                                                                                       ACTIVATING SW MODULES ON
                                                                                       SELECTED RECEIVERS IN DVB
             4216    04216-US-NP 7376625    10/000645    20050005286 05/20/08 11/15/01
                                                                                       BROADCASTENVIRONMENT

             72884   72884-US-NP 8966377    12/860561    20120047443 02/24/15 08/20/10 Endless Mobile Desktop
                                                                                       EMAIL DISTRIBUTION
             61209   61209-US-NP 7941754    11/770894    20090006609 05/10/11 06/29/07
                                                                                       INDICATOR
                                                                                       KEYPAD DESIGN FOR LOW
             29634   29634-FR-EPA 1152442   01660075.1   1152442     07/25/07 04/26/01 POWER KEY ILLUMINATION

                                                                                         KEYPAD DESIGN FOR LOW
             29634   29634-DE-EPP 60129502. 01660075.1   1152442     07/25/07 04/26/01   POWER KEY ILLUMINATION

                                                                                         KEYPAD DESIGN FOR LOW
             29634   29634-NL-EPP 1152442   01660075.1   1152442     07/25/07 04/26/01   POWER KEY ILLUMINATION




                                                                                           PATENT
                                                                                   REEL: 052694 FRAME: 0314
                                                                                                            WSOU-GOOALL-0000401


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                     Case 6:20-cv-00585-ADA Document 272-27 Filed 10/04/23 Page 13 of 17


                                                                                          KEYPAD DESIGN FOR LOW
             29634   29634-GB-EPP 1152442   01660075.1   1152442      07/25/07 04/26/01   POWER KEY ILLUMINATION

                                                                                       SYSTEM AND METHOD FOR
             57041   57041-US-NP 8065429    11/823660    20090004974 11/22/11 06/28/07
                                                                                       SUCCESS RATE IN SERVICES
                                                                                       Digital Camera Piezoelectric Bimorph
             60248   60248-US-NP 7751135    11/999254    20090141372 07/06/10 12/03/07
                                                                                       Auto Focus motor drive
                                                                                          Ul:' UM J{t;CJ::,l v t K W llH
                                                                                       IMPROVED INTERFERENCE
             50925   50925-US-PCT 8761709   12/224710    20090023404 06/24/14 03/01/06 PERFORMANCE WITH OTHER
                                                                                       TRANSCEIVER

                                                                                       Low bit-rate quantization tool for
             64856   64856-US-NP 8195452    12/138084    20090313027 06/05/12 06/12/08 supcrwidcband speech and audio
                                                                                       codec
                                                                                       Using Cell Broadcast Service and
             70195   70195-US-NP 8290516    12/571988    20110081922 10/16/12 10/01/09 Crowd sourcing for constructing
                                                                                       location connectivity graphs
             63749   63749-US-NP 8401565    12/125470    20090291664 03/19/13 05/22/08 Delayed Emergency Position

                                                                                       Network and content aware
             63995   63995-US-NP 8291052    12/144726    20090319645 10/16/12 06/24/08
                                                                                       information management in
                                                                                       heterogeneous network environment
                                                                                       A Method of Distributed
                                                                                       Synchronization and
             62407   62407-US-NP 8761082    12/070097    20090207894 06/24/14 02/14/08
                                                                                       Estimation/Control in Cognitive
                                                                                       Radio Networks
                                                                                       METHOD FOR USING DVB CPCM
             66680   66680-US-NP 8495749    12/355063    20100186090 07/23/13 01/16/09 TO PROTECT PERSONAL
                                                                                       CONTENT

                                                                                          Method to Link Electronic Business
             66867   66867-US-NP 8856226    12/362956    20100199287 10/07/14 01/30/09
                                                                                          Cards to (Historical) Contextual
                                                                                          Information on Mobile Devices

             66996   66996-US-NP 8199939    12/321513    20100183174 06/12/12 01/21/09 Structure of MEMS mircophone with
                                                                                       sound port on the top of package
             70597   70597-US-NP 8892101    12/623991    20110124340 11/18/14 11/23/09 Qout assisted rescue handover
                                                                                       XSS solution with developer key -
             71100   71100-US-NP 8789204    12/645013    20110154130 07/22/14 12/22/09
                                                                                       based access hardening
             70443   70443-US-NP 8335819    12/651089    20110161403 12/18/12 12/31/09
                                                                                       A method for client side persistency
                                                                                       DVB-T2/H2 GSM
             56984   56984-US-PCT 8817626   12/530296    20100120467 08/26/14 03/08/07 INTEROPERABILITY SOLUTION

                                                                                       Control Signalling Design for L TE
             70439   70439-US-NP 8724648    12/570165    20110075684 05/13/14 09/30/09 Backhaul Link

                                                                                       RSTD method for Improved RS
             70111   70111-US-NP 8248997    12/542639    20110039574 08/21/12 08/17/09
                                                                                       Hearability in OTDOA
                                                                                       iLoc: A Computational Framework
                                                                                       for Incremental Location-State
             69838   69838-US-NP 8737961    12/565573    20110070863 05/27/14 09/23/09
                                                                                       Acquisition and Prediction based on
                                                                                       Mobile Sensors




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                                                                                     REEL: 052694 FRAME: 0315
                                                                                                              WSOU-GOOALL-0000402


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             72074   72074-US-NP 8266551    12/813248   20110307841 09/11/12 06/10/10  Granular reflective process migration
                                                                                       based liquid user interface
                                                                                       Multi-phase probabilistic tagging for
             71803   71803-US-NP 8489600    12/710990   20110208722 07/16/13 02/23/10 segmentation and summaries of media
                                                                                       items
                                                                                       Method for identifying people and
             61393   61393-US-PCT 8942638   12/745406   2010031134 7 01/27/15 11/28/07
                                                                                       objects appearing on a picture

                                                                                      REAL-TIME GAMING AND
             74340   74340-US-NP 9144098    12/931973   20120207100 09/22/15 02/14/11
                                                                                      OTHER APPLICATIONS SUPPORT
                                                                                      FORD2D COMMUNICATIONS
                                                                                      A method and apparatus for map
             73840   73840-US-NP 8983763    12/887947   20120072100 03/17/15 09/22/10
                                                                                      creation with multiple users
                                                                                      SINR Estimation for HSDP A MIMO
             74250   74250-US-NP 8351555    13/020168   20120201285 01/08/13 02/03/11 receiver for the case of using S-
                                                                                      CPICH as phase reference

             76128   76128-US-NP 9218605    13/238334   20130073485 12/22/15 09/21/11   Recommendation Service Framework
                                                                                        for Dual-SIM/Multi-SIM devices
                                                                                        A method for merging and grouping
             76040   76040-US-NP 9245051    13/237175   20130073583 01/26/16 09/20/11   detected multiple text regions for
                                                                                        OCR preprocessing
                                                                                        Mobile radar assisted control for
             75394   75394-US-NP 8803697    13/107090   20120286965 08/12/14 05/13/11
                                                                                        incoming calls
                                                                                        Wave to Share: Seamless Content
             78553   78553-US-NP 9055404    13/476693   20130309972 06/09/15 05/21/12   Sharing and Transfer Through
                                                                                        Proximity Sensing and Gesturing
                                                                                        More criteria to Probe Request and
             78243   78243-US-NP 9294883    13/409404   20130231151 03/22/16 03/01/12
                                                                                        Response Exchange
                                                                                        Energy accounting for mobile Web
             71012   71012-US-PCT 8914656   13/517972   20120260111 12/16/14 12/23/09
                                                                                        runtime
                                                                                        Methods for allocating Control Data
             76671   76671-US-NP 8811207    13/284137   20130107816 08/19/14 10/28/11
                                                                                        to User Equipment

             71223   71223-US-PCT 9307550   13/521349   20130012221 04/05/16 01/19/10 eNB-controlled Centralized Resource
                                                                                      Reuse for D2D and Cellular Users
                                                                                        r~   11 T><H--   vnMUL1 1 '"'H   I\


                                                                                      SYNCHRONIZATION
                                                                                      SYNCHRONISATION
             59013   59013-US-PCT 9258354   13/881950   20140237083 02/09/16 10/31/11 MULTIMEDIA PROGRESSIVE



                                                                                      NAN service discovery with BT LE
             84769   84769-US-NP 9398437    14/107250   20150172902 07/19/16 12/16/13 device filtering and SID based device
                                                                                      addresses
                                                                                      VERF AHREN UND FUNK-
                                                                                      KOMMUNIKATIONSSYSTEM
             88117   88117-DE-NP 19916063 19916063.5                07/13/00 04/09/99
                                                                                      ZUR SYNCHRONISATION VON
                                                                                      TEILNEHMERST ATIONEN
                                                                                      METHOD, Al--'PAKATU~ ANlJ
                                                                                      COMPUTER PROGRAM FOR
             88236   88236-US-NP 8248941    12/012338   20090196177 08/21/12 02/01/08 UPLINK     SCHEDULING IN A
                                                                                      NETWORK THAT EMPLOYS
                                                                                      RELAY NODES




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                                                                                    REEL: 052694 FRAME: 0316
                                                                                                             WSOU-GOOALL-0000403


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                                                                                        FRAME SYNCHRONIZATION
             88258   88258-US-NP 8724525    12/204789   20100054172 05/13/14 09/04/08
                                                                                        USING BIDIRECTIONAL
                                                                                        TRANSMIT AND RECEIVE ZONES

             88199   88199-CN-NP 919951     20061013744 101170797   03/14/12 10/25/06 Listen-and-help deployment for relay
                                                                                      stations in wireless cellular systems
                                                                                      SYMMETRICAL COOPERATIVE
             88234   88234-US-NP 8717966    12/071153   20090207778 05/06/14 02/15/08 DIVERSITY IN THE RELAY-
                                                                                      ENABLED WIRELESS SYSTEMS
                                                                                         A I t:<,L     Nl~Ub I U !:::!"J,IU-H .I-<. LJ:-,t:<,
                                                                                      OF EFFICIENT AMPLIFIERS WITH
                                                                                      PARTIAL RESPONSE SIGNALING
             17537   17537-US-DIV 7126998   11/221511   20060067414 10/24/06 09/08/05 IN
                                                                                      WIRELESS OFDM SYSTEMS

                                                                                        J:' I< l-<121 'H     _ Y I H_""' /\uj'J J:'A I<   "~
                                                                                      RESPONSE SIGNALING WITH
                                                                                      HIGH SPECTRAL EFFICIENCY
             17659   17659-US-NP 7173961    10/793017   20040170228 02/06/07 03/03/04
                                                                                      AND
                                                                                      VERY LOW PAPR

                                                                                        SWITCH-OFF FOR
                                                                                        INTERFERENCE SUPPRESSIVE
             37013   37013-US-NP 7006811    10/375591   20040171364 02/28/06 02/27/03
                                                                                        RECEIVER

                                                                                      Multi-pass pre-processing and image
             52769   52769-US-NP 7973823    11/648131   20080158375 07/05/11 12/29/06 statistics with compressed memory
                                                                                      access
                                                                                      A STEREO WIDENING NETWORK
             48042   48042-US-NP 7991176    10/999842   20060115090 08/02/11 11/29/04 FOR TWO CLOSELY SP ACED
                                                                                      LOUDSPEAKERS
                                                                                      IMPROVED BUFFERING DELAY
             56563   56563-US-NP 7983309    11/624836   20080175276 07/19/11 01/19/07 ESTIMATION       FOR ADAPTIVE
                                                                                      JITTER BUFFER MANAGEMENT
                                                                                      DVBH - AUTOMATIC AIR
             55829   55829-US-NP 7870377    11/672064   20080189540 01/11/11 02/07/07
                                                                                      INTERFACE SELECTION
                                                                                      MICROINTERPRETERFOR
             41415   41415-US-NP 8060913    11/591484   20080109868 11/15/11 11/02/06
                                                                                      DYNAMIC POLICY EXECUTION
                                                                                      ADAPTABLE RANDOM PLAY
             50877   50877-US-NP 7937417    11/402283   20070239687 05/03/11 04/11/06
                                                                                      SYSTEM FOR ENHANCED VOICE
                                                                                      CAPACITY AND QUALITY OVER
             45117   45117-US-NP 7894823    10/862774   20050271021 02/22/11 06/07/04
                                                                                      WLAN

                                                                                      MULTI-SCALE RAW CAMERA
             48725   48725-US-NP 8045047    11/166790   20060290796 10/25/11 06/23/05 DATA

                                                                                         h'1-<11u1         "'..i-H"•l1N:-.Lu1

                                                                                      ACQUISITION TIME IN
                                                                                      DISTRIBUTED MAC UNDER
             45551   45551-US-NP 8027288    11/111869   20060239220 09/27/11 04/22/05 CRITICAL DEVICE
                                                                                      POPULATION CONDITIONS




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                                                                                    REEL: 052694 FRAME: 0317
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                                                                                      UTILIZATION OF AUDIO CODEC
                                                                                      IN LIGHTNING DETECTION IN
             37524   37524-US-NP 7254484    11/251258   20070088504 08/07/07 10/14/05
                                                                                      MOBILEDEVICES

                                                                                      LIGHTNING DISTANCE METER
                                                                                      FEATURE FOR MOBILE
             37135   37135-US-NP 7200418    10/795209   20050197070 04/03/07 03/04/04
                                                                                      TERMINALS

                                                                                         1 ., ""' ~ "' H   1 ~tK y   1Ch ANlJ LUAU
                                                                                         BASEDINTERFREQUENCY
                                                                                         (WCDMA <-> WCDMA) AND
             32619   32619-US-PCT 7197318   10/475825   20040121777 03/27/07 04/26/01    INTERSYSTEM
                                                                                         (WCDMA <-> GSM/EDGE)
                                                                                         HANDOVERS

                                                                                      LISTENER-SOLUTION TO
                                                                                      DYNAMIC DEVICE IP ADDRESS
             34981   34981-US-NP 8065408    10/881696   20060047803 11/22/11 06/30/04
                                                                                      PROBLEM

                                                                                         IP RAN STRATEGIES FOR SSDT
             23656   23656-US-PCT 7146168   10/499000   20050119003 12/05/06 12/19/01
                                                                                         HA"'-"- vtK          •H     I"'' 1N rUK lP

                                                                                      SERVICES IN DVB NETWORK
                                                                                      BASED ON THE PRIORITY
             28728   28728-US-NP 7260074    10/334822   20040125769 08/21/07 12/31/02
                                                                                      ORDER OF IP
                                                                                      STREAMS

                                                                                      DYNAMIC LOAD BALANCING
                                                                                      USING LOCALIZED
             19755   19755-US-NP 7280482    10/286477   20040203827 10/09/07 11/01/02
                                                                                      INFORMATION


             60820   60820-US-NP 7873011    11/891148   20090040928 01/18/11 08/08/07 Bi-directional Resource Allocation to
                                                                                      decrease signaling for retransmissions
                                                                                      Electromagnetic interference sensor
             62680   62680-US-NP 8032330    12/074952   20090228240 10/04/11 03/07/08 for low-end diagnostic monitoring of
                                                                                      devices
                                                                                      Desktop material simulation using a
             60746   60746-US-NP 9170649    12/005830   20090167701 10/27/15 12/28/07
                                                                                      piezoelectric actuator
                                                                                      Enabling Dual-Mode Communication
             65167   65167-US-NP 8010669    12/251971   20100094922 08/30/11 10/15/08
                                                                                      via DCCI Models
                                                                                      Multiple SIM Card Management and
             65560   65560-US-NP 9189256    12/274953   20100125654 11/17/15 11/20/08
                                                                                      Device Setup
                                                                                      Auto-generating visual writing
                                                                                      guidance and hints for handwriting
             68646   68646-US-NP 9047267    12/431908   20100281350 06/02/15 04/29/09
                                                                                      mathematical expression recognition
                                                                                      systems
                                                                                      API notification to suggest the use of
                                                                                      a UDP port when a reliable D2D
             68507   68507-US-NP 8966090    12/424232   20100268775 02/24/15 04/15/09 connection is available.




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                                                                                    REEL: 052694 FRAME: 0318
                                                                                                                   WSOU-GOOALL-0000405


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                                                                                        Method of augmenting social
                                                                                        networking service interactions with
             69700   69700-US-NP 9117203    12/552095   20110055335 08/25/15 09/01/09
                                                                                        person-to-person 'text/MMS message
                                                                                        sessionsl to increase audience reach
                                                                                        and social inclusiveness
                                                                                        Shared friends view in gallery (pre-
             72635   72635-US-NP 9111255    12/872724   20120054691 08/18/15 08/31/10   reviewed by Jette Jensen and Morten
                                                                                        Ovi) Intelligent UI project
                                                                                        Network assisted secondary usage in
             71964   71964-US-NP 9055512    12/761384   20110255425 06/09/15 04/15/10
                                                                                        future cellular system
             62814   62814-US-PCT 9025775   13/002486   20110103591 05/05/15 07/01/08   Binaural audio image enhancement
                                                                                        HSP A MIMO receiver for imbalanced
             75618   75618-US-NP 8923377    13/106937   20120288032 12/30/14 05/13/11
                                                                                        transmit signal
             81785   81785-GB-NP            1318531.9   2519364              10/21/13   Pure Imaging




                                                                                          PATENT
             RECORDED: 05/18/2020                                                 REEL: 052694 FRAME: 0319
                                                                                                         WSOU-GOOALL-0000406


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